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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 00-06284-CR-LENARD/LOUIS

  UNITED STATES OF AMERICA,

  v.

  DAVID I. ALTMAN,

        Defendant.
  _____________________/

       ORDER ADOPTING REPORT OF MAGISTRATE JUDGE (D.E. 107), AND
         DENYING APPLICATION TO PROCEED ON APPEAL WITHOUT
                PREPAYMENT OF FEES OR COSTS (D.E. 105)

         THIS CAUSE is before the Court on the Report of Magistrate Judge Lauren F.

  Louis, (“Report,” D.E. 107), issued on October 15, 2021, recommending that the Court

  deny Defendant David I. Altman’s Application to Proceed on Appeal Without Prepayment

  of Fees or Costs, (“Application,” D.E. 105), filed September 20, 2021. Specifically, Judge

  Louis recommends that the Court deny the Application because the appeal is utterly

  meritless and therefore not taken in good faith. (Report at 3.) The Report provides the

  Parties with fourteen (14) days to file objections. As of the date of this Order, no objections

  have been filed. Failure to file objections shall bar parties from attacking on appeal the

  factual findings contained in the report. See Resolution Trust Corp. v. Hallmark Builders,

  Inc., 996 F.2d 1144, 1149 (11th Cir. 1993). Therefore, after an independent review of the

  Report and record, it is hereby ORDERED AND ADJUDGED that:

         1.     The Report and Recommendation of the Magistrate Judge (D.E. 107) issued

                on October 15, 2021, is ADOPTED; and
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        2.    Defendant’s Application to Proceed on Appeal Without Prepayment of Fees

              or Costs (D.E. 105) is DENIED.

        DONE AND ORDERED in Chambers at Miami, Florida this 16th day of

  November, 2021.


                                       ____________________________________
                                       JOAN A. LENARD
                                       UNITED STATES DISTRICT JUDGE




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